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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                             :
                                                       :                    SUMMARY ORDER
                   -against-                           :
                                                       :                     06-CR-413 (DLI)
 MIGUEL LUCIANO, pro se,                               :
                                                       :
                            Defendant.                 :
 ------------------------------------------------------x
 DORA L. IRIZARRY, U.S. District Judge:

         On December 30, 2010, pro se1 defendant Miguel Luciano filed this motion requesting a

 sentence modification pursuant to 18 U.S.C. § 3582(c)(2) in light of Amendment 706 to the U.S.

 Sentencing Guidelines which became effective on November 1, 2007 (reducing by two the

 offense level applicable to most crack offenses), and The Fair Sentencing Act of 2010 (“FSA”),

 Pub. L. No. 111-222, 124 Stat. 2372 (2010) (altering the threshold quantities of crack cocaine

 that trigger statutory minimum sentences applicable to violations of 21 U.S.C. § 841). Prior to

 Amendment 706, 1.5 kilograms of crack cocaine would place an offender at a base offense level

 of 38. At the time of his March 20, 2008 sentencing (after Amendment 706 became effective),

 however, Luciano’s base offense level for 1.5 kilograms of crack cocaine was properly

 calculated at 36. Thus, Luciano benefited from Amendment 706 and cannot rely on § 3583(c)(2)

 for a sentence reduction. Moreover, the FSA is of no avail to defendant. As an initial matter,

 courts have declined to apply the FSA retroactively because it “contained no express statement

 that it is intended to have retroactive effect nor can it be inferred from its language.” See, e.g.,

 United States v. Glover, 2010 WL 4250060, at *2 (2d Cir. October 27, 2010). Additionally,

 Luciano was not subject to a mandatory-minimum sentence because he allocuted to an

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   Because defendant is a pro se litigant, the court, in deciding this motion, has construed
 defendant’s papers broadly, interpreting them to raise the strongest arguments they suggest. See
 Weixel v. Bd. of Educ. of N.Y., 287 F.3d 138, 146 (2d Cir. 2002).

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 unspecified amount of crack (21 U.S.C. § 841(b)(1)(C)), and thus, even if the FSA applied

 retroactively, it would not affect Luciano’s sentence. In sum, defendant’s motion to reduce his

 sentence is denied in its entirety.



 SO ORDERED.

 DATED:          Brooklyn, New York
                 March 2, 2011
                                                       _____________/s/_____________
                                                            DORA L. IRIZARRY
                                                          United States District Judge




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